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 9

10
                                 UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

13
     IN RE: META PIXEL HEALTHCARE LITIGATION                 Case No.: 22-cv-03580-WHO
14   ______________________________________________
15   This document relates to:
16   Doe, et al. v. Meta Platform, Inc.
                                                             Case No: 3:22-cv-06665-AGT
17

18
                                                             DECLARATION OF JENNIE
19                                                           LEE ANDERSON IN SUPPORT
                                                             OF ADMINISTRATIVE
20                                                           MOTION TO CONSIDER
                                                             WHETHER CASES SHOULD BE
21                                                           RELATED PURSUANT TO CIV.
                                                             L.R. 3-12(b)
22

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            ANDERSON DECL. ISO ADMIN. MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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            I, Jennie Lee Anderson, declare as follows:
 1

 2                  1.    I am a member in good standing of the California State Bar, and a partner in the

 3   law firm of Andrus Anderson LLP counsel of record for the plaintiffs in Doe, et al. v. Meta Platform,

 4   Inc., Case No. 3:22-cv-06665-AGT. I have personal knowledge of the matters set forth herein, and

 5   could and would testify competently thereto if called upon to do so.

 6                  2.    On October 28, 2022, the Doe case was filed in the United States District Court

 7   for the Northern District of California. A true and correct copy of the complaint is attached hereto as

 8   Exhibit A.

 9                  3.    As of the date of this Administrative Motion, counsel for the named defendant

10   had not yet made an appearance in the Doe matter. Therefore, it was not feasible to obtain stipulation

11   from all counsel prior to filing of this Administrative Motion pursuant to Civ. L.R. 7-11 and also

12   comply with Civ. L.R. 3-12 regarding related cases.

13          I declare under penalty of perjury that the foregoing is true and correct. Executed this 31st day

14   of October, 2022, San Francisco, California.

15                                                  /s/ Jennie Lee Anderson_________
16                                                  Jennie Lee Anderson (SBN 203586)
                                                    Lori E. Andrus (SBN 205816)
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21                                                  filed)
                                                    Alison D. Hawthorne (pro hac vice to be filed)
22                                                  Rachel N. Minder (pro hac vice to be filed)
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28                                                  Counsel for Plaintiffs and the Proposed Classes
                                                   -2-
             ANDERSON DECL. ISO ADMIN. MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
